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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 DAISY BUNDRAGE,

                              Plaintiff,

 vs.                                           CASE NO. _________________________

 COLLECTO, INC. d/b/a EOS CCA,

                        Defendant.
 ___________________________________/

                                      COMPLAINT
                                     JURY DEMAND

                                    INTRODUCTION

        1.      Plaintiff alleges that Defendant called her cellular telephone in violation of

 the Telephone Consumer Protection Act, 42 U.S.C. § 227 et seq. (“TCPA”).

                             JURISDICTION AND VENUE

        2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 47

 U.S.C. § 227(b)(3). See Mims v. Arrow Financial Services, LLC, No. 10-1195, 2012

 U.S. LEXIS 906, 2012 WL 125429 (Jan. 18, 2012). Venue in this District is proper

 because Plaintiff resides here and Defendant placed telephone calls into this District.

                                           PARTIES

        3.      Plaintiff, Daisy Bundrage (“Plaintiff”) is a natural person and a citizen of

 the State of Florida, residing in Manatee County in the Middle District of Florida.




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         4.      Defendant, Collecto, Inc. d/b/a EOS CCA (“Defendant”) is a foreign

 business corporation organized and existing under the laws of the State of Massachusetts

 with its principal place of business and corporate offices in Norwell, Massachusetts.

 Defendant regularly conducts business in the State of Florida including the Middle

 District of Florida.

                               FACTUAL ALLEGATIONS

         5.      On or about August 2014, Defendant began using an automatic telephone

 dialing system or a pre-recorded or artificial voice to place numerous telephone calls to

 Plaintiff’s cellular telephone number 941-746-6037 within four years of this Complaint.

         6.      By way of example, Defendant called Plaintiff’s aforementioned cellular

 telephone number using an automatic telephone dialing system or a pre-recorded or

 artificial voice including, but, not limited to, on or about the following dates and times:

                 September 8, 2014 at 3:34 PM

                 September 25, 2014 at 2:53 PM

                 September 25, 2014 at 5:18 PM

                 September 26, 2014 at 10:40 AM

                 September 30, 2014 at 12:44 PM

                 September 30, 2014 at 4:54 PM

                 October 2, 2014 at 4:24 PM

                 October 7, 2014 at 8:38 PM

                 October 14, 2014 at 1:53 PM

                 October 14, 2014 at 5:27 PM



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                October 16, 2014 at 5:30 PM

                October 23, 2014 at 8:42 AM

                October 23, 2014 at 1:03 PM

                October 23, 2014 at 5:42 PM

                October 28, 2014 at 2:28 PM

                October 28, 2014 4:21 PM

                October 30, 2014 8:12 AM

                October 30, 2014 1:18 PM

                October 30, 2014 at 4:15 PM

                January 21, 2015 at 8:26

        7.      Several of the telephone calls Plaintiff received from Defendant resulted in

 the following pre-recorded messages being left on Plaintiff’s cellular telephone:

                Important message from EOS CCA. This is a call from a

                debt collector. Please call 844-845-6551.

        8.      Defendant’s records will show that Defendant used an automatic

 telephone dialing system or a pre-recorded or artificial voice to place other telephone

 calls to Plaintiff’s aforementioned cellular telephone number between August 2014 and

 the filing of this Complaint.

        9.      Defendant initiated each of the calls at issue to Plaintiff’s aforementioned

 cellular telephone number without the “prior express consent” of Plaintiff as specified by

 the TCPA, 47 U.S.C. § 227(b)(1)(A).




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           10.   Defendant placed the telephone calls to Plaintiff’s cellular telephone in an

 attempt to collect an alleged debt from Samuel Bundrage.

           11.   Plaintiff is not a co-signor or otherwise an obligor on Samuel Bundrage’s

 debt.

           12.   Plaintiff does not have any business with Defendant.

           13.   None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

           14.   Defendant willfully or knowingly violated the TCPA.

                            COUNT I
   AUTOMATED OR PRE-RECORDED CALLS TO PLAINTIFF’S CELLULAR
    TELEPHONE IN VIOLATION OF THE TCPA, 47 U.S.C. § 227 (b)(1)(A)(iii)

           15.   Plaintiff incorporates Paragraphs 1 through 14 above as if fully set forth

 herein.

           16.   Defendant placed non-emergency telephone calls to Plaintiff’s cellular

 telephone using an automatic telephone dialing system or pre-recorded or artificial voice

 in violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

           WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

                 a. Damages;

                 b. A declaration that Defendant’s debt collection practices violate the

                    TCPA;

                 c. A permanent injunction prohibiting Defendant from placing non-

                    emergency calls to the cellular telephone of Plaintiff using an



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                  automatic telephone dialing system or pre-recorded or artificial voice

                  of the called party; and engaging in the complained of practices; and

              d. Such other or further relief as the Court deems proper.

                                    JURY DEMAND

       Plaintiff demands trial by jury.

                                               /s/ James S. Giardina
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